             Case 4:24-cv-09104-JST             Document 19          Filed 04/01/25       Page 1 of 17




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                                                                                              APR 0 1 2025 ^
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       Fro Se Defendant                                                                NORTH DISTRICT OF CALIFORNIA
                                                                                              OAKLAND OFFICE


                                         UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
                                                 Division; Oakland




       COIIESITY,INC.,                                     CASE NO. 4:24-CV-9104


                           Plaintiff,                      DEFENDANT CARTESIAN THEATRE
                                                           CORP.’S NOTICE OF MOTION AND
               V.                                          MOTION TO S TAY


       CARTESIAN THEATRE CORE, and                         Judge. Hon. Jon S. Tigar
       DOES 1 - 25
/t/
  <C
                          Defendant


                                        NOnCE OF MOTION AND MO ITON


       TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

               PLEASE TAKE NOTICE that Defendant CARTESIAN THEATRE CORE {"C'F")


       hereby and does move the Court for an order staying this proceeding in the above-captioned

       action pending final disposition of the parallel proceeding between CT and COHESITY, INC.

       (^‘Cohesity“) in CARTESIAN THEATRE CORl-\ v. COHESTTY, INC., Federal Court of Canada,

       Court File No. T-2636-24 (the '‘Canadian Proceeding”),

               This motion is made on the grounds that the first-fded Canadian Proceeding involving the

       same parties and tlie same core dispute over the HELIOS trademark is cuiTeiilly pending, mid

       that a stay of this later-filed United States action is warranted in the interests of judicial


                                                    Page 1 of 17
         Case 4:24-cv-09104-JST          Document 19        Filed 04/01/25       Page 2 of 17




efficiency, international comity, and avoidance of inconsistent mlings. In particular, staying tliis

case until tlie Canadian Proceeding is resolved will;

       1. Promote judicial economy: It avoids duplicative litigation of overlapping issues in two

          courts and conserves the resources of the judiciary and the parties. COIVS, INC. v.

           VIACOM INTERNATIONAL INC., Case No. 2:05CV00524, 5 (D. Utah Nov. 16, 2005).

       2. Respect international comity: The Federal Court of Canada, where CT first-filed suit.

          should be permitted to resolve the dispute without interference, especially given Canada’s

          strong interest in adjudicating its domestic trademark rights. COWS at 4-5.

       3. Prevent conflicting outcomes: It minimizes the risk of inconsistent findings or

          obligations by allowing one authoritative resolution at a time, recognizing that while the

          Federal Court of Canada cannot decide United States law, its outcome will likely infonn


          or nanow the issues remaining here. COWS at 5.

          This motion is based on this Notice; the following Memorandum of Points and

Authorities; the pleadings, files, and records in this action, CT’s Request for Judicial Notice of

Federal Court of Canada Proceeding T-2636-24 and Related Trademark Filings C'CT’s Request

for Judicial Notice”), and any other evidence or argument as may be presented that tlie Court

deems appropriate. Pursuant to Civil L.R. 7-3, CT attempted to confer with counsel for Plaintiff

Cohesity on 21 March, 2025 by telephone and again on March 23, 2025 by email regarding this

motion, but no response was forthcoming as of the date of this motion. CT therefore brings this

motion for the Court’s detennination.


                      MEMORANDUM OF POINTS AND AUTHORITIES


  1.      INTRODUCTION


          Defendant CT moves to stay this proceeding in favor of an earlier-filed and ongoing




                                             Page 2 of 17
      Case 4:24-cv-09104-JST            Document 19         Filed 04/01/25       Page 3 of 17




lawsuit bct^\■ccn the same parties, CT and Cohesity, in the Canadian Proceeding. The Canadian

Proceeding was filed first on October 8, 2024 and squarely addresses the parties’ dispute over the

rights to the HCLIOS trademark. In the Canadian Proceeding CT, a Canadian corporation based

in Vancouver, British Columbia, seeks relief under Canadian law for Cohesity’s use of the

HELIOS mark in Canada.


       Two mondis later on December 17, 2024, Cohesity initiated tlie present action, seeking a

declaratory judgment that its use of HELIOS does not infringe CT’s trademark rights in the

United States. Thus botli cases involve the same parties and a closely related controversy.

whetlier Coliesity’s HELIOS branding infringes CT’s trademaiL - albeit in different jurisdictions.

       A stay of this action pending resolution of the Canadian Proceeding is warranted for

several compelling reasons. First, the Canadian Proceeding was first-filed and is already well

underway, whereas tliis United Slates case is in its eaily stages. Staying the later-filed action

honors the first-filed forum and prevents duplicative litigation.

        Second, a stay advances judicial economy by avoiding parallel proceedings in two

countries involving overlapping facts, witnesses, and evidence. COWS at 5. GreenFowerMo/or

Company, Inc. v. Phillip Oldridgc, 5:22-cv-00252, (C.D. Cal. Nov. 14 2022) (unpublished order).

       Third, a stay promotes international comity, respecting Canada’s interest in adjudicating

its own trademark laws and avoiding unnecessary interference by a United States court in a

dispute that is already being addressed abroad. COWS at 5.

       Finally, a stay will avoid inconsistent rulings and prejudice. While this Court would

ultimately decide United States trademark issues if needed, allowing tlie Federal Court of Canada

to reach a final decision first may streamline or even resolve the dispute between the parties,

thereby potentially obviating the need for further litigation here. COWS at 5.




                                            Page 3 of 17
         Case 4:24-cv-09104-JST          Document 19         Filed 04/01/25      Page 4 of 17




          Cohesity will not suffer any unfair prejudice from a temporary stay; it remains free to

pursue its defenses and counterclaims in the Canadian forum, and can resume this case after tlie

Canadian matter concludes, if necessary. COWS at 5.

          For these reasons, detailed further below, CT respectfully requests that the Court stay this

proceeding until the Canadian Proceeding has reached a final disposition.

 11.      FACTUAL BACKGROUND


       A, The Canadian Proceeding (Earlier-Filed):

          On October 8, 2024, CT, a Vancouver-based corporation, filed a Statement of Claim in

tlie Federal Court of Canada against Cohesity. In that action, CT alleges that it owns tlie rights to

the HELIOS trademark in Canada, including a registration for FIELIOS, and that Cohesity’s use

of HELIOS in connection with its software and services infringes tliose rights.

          The Statement of Claim asserts causes of action under the Canadian TniJeuiark.s Act,


RSC 1985, c T-13, for trademark infringement (ss 19-20), among others. For example, CT’s

pleading alleges that Cohesity has "'infringed the Plaintiff’s exclusive rights in the Helios

Trademark^ and used tlie maiL in a manner likely to depreciate tlie goodwill associated witli it.

CT seeks remedies, including injunctive relief, to stop Cohesity’s use of FIELIOS in Canada,

damages or an accounting of profits (s 53.2( 1)), and other relief under Canadian law.

          Cohesity was served widi tlie Canadian pleading on or about October 9,2024, and

thereafter responded in the Canadian Proceeding. Specifically, on November 18, 2024, Cohesity

filed a Statement of Defence and Counterclaim in the Federal Court of Canada. In its Canadian


defense, Cohesity denied infringing and raised vaidous allegations against CT, including a

counterclaim seeking to invalidate CT’s Canadian FIELIOS registration and to enjoin CT from

interfering with Cohesity’s use of the mark. Among other tilings, Cohesity’s Canadian




                                             Page 4 of 17
      Case 4:24-cv-09104-JST           Document 19        Filed 04/01/25      Page 5 of 17




counterclaim accuses CT of acting in bad faith and engaging in improper tactics to monopolize

the HELIOS mark, such as tlireatening Cohesity’s business partners and sending takedown

notices. CT, in turn, filed a Defence to Counterclaim on December 18,2024, denying Cohesity’s

allegations, and Cohesity filed a Reply on Janiiaiy’ 15,2025, Thus, the pleadings in the Canadian

Proceeding are now closed pursuant to Rule 202 of the Canadian Federal Courts Rules,

SOR/98-106, and tliat case is moving forward into the discovery and adjudication phase in

Canada per Rule 223( 1).

   B. The United States Action (Later Filed):

       On December 17, 2024, roughly ten weeks after tlie Canadian Proceeding was filed.

Cohesity initiated the instant lawsuit by filing a Complaint in this Court. Cohesity’s Complaint is

styled as an action for Declaratory Judgment of Non-Infringement of trademark. In essence.

Cohesity asks diis Court to declare tliat its use of the HELIOS name for its softwai e products and

services does not infringe any trademark rights that CT claims to have. The impetus for

Cohesity's suit was CT’s trademark enforcement efforts: Cohesity acknowledges in its

Complaint that CT ''has already commenced an action against Cohesity in Canada"" regarding

use of the HELIOS mark, and that CT also alleged Cohesity’s United States use of HELIOS was

infringing and contacted Cohesity’s United States partners with infringement claims.

       Cohesity’s Complaint concedes tliat die Canadian lawsuit involves "a similar dispute

over HELIOS in Canada, but "does not concern (...) infringement in the United States, nor could

a Canadian court resolve the (...) dispute regarding the rights to use the HELIOS trademark in

the United States"". On itiis basis, Cohesity seeks a declaratory judgment diat its HELIOS

branded software does not infringe CT’s trademark rights under United States law.

       No substantive proceedings have yet occurred in this Court. To date, Defendant CT has




                                           Page 5 of 17
       Case 4:24-cv-09104-JST            Document 19          Filed 04/01/25       Page 6 of 17




not answered the Complaint, and the parties have not commenced discovery. In contrast, the

Canadian Proceeding, which will address die core trademark dispute between the parties, is

significantly furdier along.

III.    LEGAL STANDARD


       Federal courts have broad discretion and inherent authority to manage their dockets,

including the power to stay proceedings in the interests of justice and efficiency. As the Supreme

Court has stated, "‘'the power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time and effort for

itself for counsel, and for litigants.'' Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936). This

inherent power extends to staying an action in deference to a related case pending in a foreign

jurisdiction under principles of international comity and judicial efficiency. COIVS at 4.

        in detennining whedier to stay proceedings due to a parallel foreign action, courts

typically consider factors such as: (1) the similarity of the parties and issues involved in the

foreign litigation; (2) the promotion of judicial efficiency; (3) the adequacy of relief available in

tile alternative (foreign) forum; (4) fairness and convenience to tlie parties (and counsel and

witnesses); (5) potential prejudice to any party; and (6) the order in which the actions were filed

(temporal sequence). COIVS at 4. These factors are not a rigid test, but guide the court’s

discretion in balancing the interests of the pai ties, tlie courts, and tiie public in the context of

parallel proceedings.

        Additionally, because the present case is a declaratory judgment action, the Court’s

discretionary authority is particularly broad. The Declaratory Judgment Act confers discretion on

courts to decline or postpone adjudicating declaratory claims in appropriate circumstances.

Wilton V. Seven Falls Co., 515 U.S. 277, 288 (1995). A district court has substantial discretion in




                                              Page 6 of 17
        Case 4:24-cv-09104-JST          Document 19         Filed 04/01/25        Page 7 of 17




deciding whether to entertain a declaratory judgment action, especially when parallel

proceedings are pending in another forum. In other words, tliis Court may abstain or defer

resolution of Cohesity’s declaratory claim in light of the pai'allel Cmiadian Proceeding without

abdicating its jurisdiction, as long as the decision is a sound exercise of discretion grounded in

comity and efficiency considerations.

         Ultimately Federal courts have tlie inherent power to stay an action based on the

pendency of a related proceeding in a foreign jurisdiction. COH^S at 4. Where, as here, the

relevant factors strongly favor allowing the first-filed foreign action to proceed first, a stay of the

later-filed United States action is an appropriate exercise of the Court’s discretion. Indeed, often

the ''appropriate resolution is a stay rather than a dismissal of the American action'" in deference

to an overseas proceeding. Turner Entertainment Co. v. Degeto Eilm GmbH, 25 F.3d 1512, 1523

(lltliCir. 1994).

IV.      ARGUMENT


      A. All Relevant Factors Strongly Support a Stay Pending the Canadian Proceeding

         The t>vo actions involve the same parties and overlapping issues, CT’s cunenl

Canadian registration for HELIOS and its pending USPTO application both feature identical

standard characters, identical international classifications 9 and 42, and identical descriptions

(CT’s Request for Judicial Notice, Exhibits F-G).

         It is undisputed that the Canadian Proceeding and this case feature identical parties

(Cohesity and CT) who are engaged in a single overarching dispute. In both lawsuits, the core

issue is the parties’ conflict over tlie HELIOS trademai'k and whetlier Cohesity’s use of HELIOS

is permissible or infringing. The Canadian Proceeding focuses on infringement of CT’s

trademark under Canadian law (within Canada), while this case seeks a declaration concerning




                                             Page 7 of 17
      Case 4:24-cv-09104-JST              Document 19         Filed 04/01/25      Page 8 of 17




infringement of, or interference with, CT’s trademark rights under United States law.

          Altliough the legal frameworks differ by jurisdiction, tlie factual nucleus of both cases is

substantially llie same; e.g., the development and adoption of tlie HELIOS name by each pai1y.

tlie nature of the parties’ respective products and services, the chronology of use and registration

of the mark, the interactions between the parties regarding the mark, and the likelihood of

confusion, or lack tliereof, among consumers, indeed, Cohesity’s own Complaint acknowledges

that the Canadian suit involves a "''similar dispute’' regarding Defendant’s rights to HELIOS (just

in Canada). The Federal Court of Canada’s detennination of issues like which party used the

mai'k first, tlie scope of CT’s rights in HELIOS, and whether confusion has resulted from

Cohesity’s use will directly inform any analysis of the same questions in the United States’

context. In short, the overlap of parties and issues strongly favors a stay. Proceeding

simultaneously in botli courts would require re-litigating many of tlie same facts and contentions.

wasting resources and raising the possibility of inconsistent factual findings.

          Judicial efficiency and economy would be best served by a stay. Conducting two

parallel litigations over tiie HELIOS frademark, one in California and one in Canada, would be

inefficient and burdensome. A stay avoids duplicative discovery and proceedings in the two

forums.


          For example, witliout a stay botli paities would have to engage in discovery twice, once

under United States’ niles and once under Canadian rules, regarding overlapping matters such as


the marketing of HELIOS-branded products, consumer perception, and the parties’

communications. Key witnesses (employees of Coliesity and CT, customers, etc.) might be

deposed in botli actions on similar issues. Two courts would be asked to adjudicate similar

factual questions and perhaps even hear from the same experts opining on likelihood of




                                              Page 8 of 17
      Case 4:24-cv-09104-JST            Document 19         Filed 04/01/25       Page 9 of 17




confusion or branding. This parallel track would double the expense and effort for all involved

and risk inconsistent results. By contrast, staying this case allows the dispute to be litigated in

one forum at a time, focusing first on the Federal Couit of Canada which was fii'st seized of tlie

controversy. As one court observed in analogous circumstances, ''Judicial efficiency favors

proceeding before one tribunal at a time, thus avoiding duplicative discovery and undue burden

to parties, counsel and witnesses.   COWSsiXS.


        Here, consolidating efforts in the Canadian Proceeding first will significantly conserve

judicial time and party resources. If CT prevails in Canada, the scope of any remaining issues for

tliis Court may be greatly nan-owed (or the paities might reach a global settlement); if Cohesity

prevails in Canada, that outcome might moot Cohesity’s concerns that CT may pursue any

claims related to HELIOS elsewhere. In either event, sequential resolution is far more efficient

tlian simultaneous litigation.

       A stay honors principles of comity by deferring to the first-filed foreign court with a

strong interest in the dispute. The doctrine of international comity supports a stay in deference

to the ongoing Canadian Proceeding. CT chose to file suit in its home country (Canada) to

enforce its trademark rights, and that court obtained jurisdiction over this dispute well before the

instant case began. Canada has a significant interest in adjudicating tlie rights associated with a

trademark registered in Canada and tlie alleged infringement occuiTing tliere.

       By allowing the Canadian Proceeding to proceed to judgment, this Court shows

appropriate respect for the Canadian judicial process and the sovereign interest of Canada in

resolving legal issues under its own ti-ademark laws. Comity does not mandate abdication of

jurisdiction, but it encourages courts to exercise care to avoid interference witli each other’s

proceedings when tlie same parties litigate in two nations. Here, a stay avoids any perception of




                                            Page 9 of 17
        Case 4:24-cv-09104-JST          Document 19         Filed 04/01/25       Page 10 of 17




this Court racing to decide issues that are before the Canadian court or potentially issuing a

ruling that conflicts with the Federal Court of Canada's determinations.

         Notably, the Canadian Proceeding was filed on October 8, 2024, whereas Cohesity filed

this United States’ case on December 17, 2024. This timing indicates that Cohesity’s filing was

reactive to the Canadian suit, a fonn of forum shopping to secure a United States forum. Courts

frown upon such proceduralfeiicmg' and often give priority to tlie first-filed action, especially

when it is pending in a competent foreign fonim. COiVS at 3-5.

         Granting a stay here aligns with the first-to-file rule in spirit and respects the Federal

Couit of Canada’s primary role at this juncture in adjudicating the dispute.

         Moreover, staying this case still preserves this Court’s jurisdiction to address any United

States specific issues at the appropriate time, thus balancing comity with the obligation to

ultimately decide United States law questions. This approach, pausing but not surrendering

jurisdiction, has been endorsed by other courts facing parallel international cases. For example.

the Eleventh Circuit has invoked an "international abstention"' doctrine, holding that in


deference to a foreign proceeding, "ihe appropriate resolution is a stay rather than a dismissal of

the American action. ” Turner at 1523. A temporary stay demonstrates comity without

permanently denying Cohesity a United States’ forum, if one is still needed after the Canadian

case.



         The Federal Court of Canada can afford adequate relief and its outcome may

render further United States proceedings unnecessary. Another factor is the adequacy of the

foreign forum and the extent to which it can resolve tlie overall dispute. Here, tlie Canadian

Proceeding squarely addresses the heart of the contlict: it will determine whether Cohesity ean

continue using HELIOS, at least in Canada, or whether that use infringes CT’s rights. While it is




                                            Page 10 of 17
      Case 4:24-cv-09104-JST            Document 19          Filed 04/01/25       Page 11 of 17




true that tlie Federal Court of Canada cannot directly decide issues of United States trademark

law or definitively adjudicate Cohesity’s rights in the United States, the relief available in

Canada will significantly influence tlie parties’ positions globally. In fact, Cohesity’s

counterclaim in the Canadian Proceeding seeks broad relief aimed at curbing CT’s ability to

object to Cohesity’s HELIOS use anywhere, including an injunction preventing CT from

challenging Cohesity’s trademaik applications and use in Canada (CT's Request for Judicial

Notice, Exhibit C, para. 29(c)).

        This means Cohesity is actively pursuing in Canada a remedy that would neutralize CT’s

trademaik enforcement efforts even beyond Canada’s borders. If Cohesity prevails on those

claims, it may effectively resolve tlie controversy, since CT would be estopped or enjoined from

pressing its HELIOS claims, presumably including in the United States. Conversely, if CT

prevails in Canada and obtains an injunction against Cohesity’s use of liELIOS, even if limited

to Canada, that outcome could prompt Cohesity to rebrand or settle the dispute globally,

obviating tlie need for this Court to issue a declaratory judgment. In either scenario, the Federal

CoLiit of Canada’s ability to grant meaningful relief is evident - it can decide the ownership and

validity of the FIELIOS mark and grant or deny injunctions, declarations, and damages that will

shape the real-world behavior of the parties. As COWS at 5 noted, even though the foreign court

cannot decide United States law issues, its decision "iiiosT certainly can affect the resolve of

either or both sides to ultimately pursue this case to trial.

        Thus, waiting for the Canadian Proceeding’s outcome is practical. There is no concern

tliat Cohesity will be left witliout a forum to vindicate its rights; Cohesity is actively litigating in

Canada and can return to this Court later if truly necessary. In tlie meantime, the Canadian forum

is providing a perfectly adequate avenue to address the core trademark dispute.




                                             Page 11 of 17
     Case 4:24-cv-09104-JST               Document 19       Filed 04/01/25      Page 12 of 17




        1 he balance of convenience and prejudice favors a stay. Fairness and convenience

considerations weigh strongly in favor of a stay. CT is a Canadian company; many of its

witnesses and dociunents are likely located in Canada. Cohesity is a Delaware corporation but.

importantly, it has willingly submitted to the Canadian court’s jurisdiction to defend the suit

there, and even brought a counterclaim there as previously indicated. This demonstrates that

Cohesity can obtain a fair oppoitimity to be heard in Canada. Proceeding in Canada first impose

no unfair burden on Cohesity. To the contrary, Cohesity is already expending effort on that

litigation, so focusing on it makes efficient use of resources. If this Court were to forge aliead

concuiTently, Cohesity would have to split its attention and resources between two suits, which is

hardly beneficial to Cohesity.

       The temporal sequence of filings also supports a stay: the Canadian Proceeding not only

came first, but has progressed hirther. In contrast, this case has not advanced beyond tlie initial

pleading. Staying now avoids entangling the parties in the United States discovery or motion

practice tliat could prove unnecessary.

       Importantly, Cohesity will not suffer any legitimate prejudice from a stay. Cohesity’s

stated goal in this lawsuit is to eliminate uncertainty about its rights to use HELIOS. That clarity

will likely emerge from the Canadian litigation. In the interim, a stay preserves the status quo.

Cohesity faces no immediate injunctive restraint in the United States; it can continue using its

mark, as CT has not sought any preliminaiy’ injunction in this Court. If Cohesity is concerned

about CT’s communications with United States’ partners as alleged in the Complaint, those same

actions are part of Cohesity’s counterclaims in Canada where Cohesity seeks relief for any

improper trademark enforcement tactics. Thus, Cohesity is already addressing those grievances

in the Canadian Proceeding. Should Cohesity ultimately succeed in showing CT’s enforcement




                                            Page 12 of 17
      Case 4:24-cv-09104-JST            Document 19          Filed 04/01/25       Page 13 of 17




was wrongftil, the Federal Court of Canada can award damages or other relief, mitigating any

hann during the pendency of the stay. On the other hand, forcing both litigations to march

forward in parallel would prejudice CT, and strain both courts, by duplicating efforts and

potentially producing conflicting mlings. In sum, the balance of equities favors a stay: it imposes

minimal, if any, prejudice on Cohesity, while avoiding substantial hardship and inefficiency for

all involved.


    B. Likely Counterarguments by Cohesity Arc Unavailing

          Cohesity may argue that CT cannot appear pro se in this motion and thus has no need to

rebuff tlie substantive arguments contained herein. However, this Court can and has exercised its

discretion previously in this proceeding to not enforce this requirement on a pre-answer motion.

Fiirtlier, even if this Court chooses to enforce this requirement on this motion, it is still free to

grant the same or similar relief sought by CT on its own motion.

          Cohesity may argue that this Court should not stay because the two cases involve

different sovereigns' laws and tlie Federal Court of Canada could not resolve the dispute

regarding the rights to use tlie HELIOS trademai'k in the United States. Cohesity might contend

that only this Court can decide United States trademark issues and that it is entitled to a prompt

determination here. However, this argument misconstrues the nature of the relief sought and the

benefits of a stay. CT is not asking the Court to surrender jurisdiction or decline to ever decide

the United States’ issues; rather, CT asks the Court to postpone its exercise of jurisdiction until

tlie conclusion of the Canadian Proceeding. As discussed, multiple courts have recognized that a

pending foreign action can justify a stay even if the foreign court cannot decide the United States

claims because the foreign outcome will likely simplify, sharpen, or even resolve the remaining

issues.




                                             Page 13 of 17
     Case 4:24-cv-09104-JST             Document 19         Filed 04/01/25       Page 14 of 17




       The decision in COIVS is instructive. In that case, which also involved a United States

trademark declaratory judgment suit and a parallel Canadian trademark infringement suit, the

United States’ court acknowledged that Canadian law would not settle tlie United Stales

trademark question, yet still stayed the United States action. The court reasoned that the

Canadian outcome was ‘'more significant to the overall controversy, and that even though the

Canadian court could not determine United States law, its judgment "most certainly can affect

the resolve'" of the parties and potentially obviate the need for further United States litigation.

COWSdiS.


       Exactly the same reasoning applies here. There is no risk that Cohesity’s United States

legal claims will never be heard - only that they will be heard later, if needed, once the more

pressing and material Canadian claims are decided.

        Cohesity miglit also assert that it would be prejudiced by delay, perhaps arguing that CT’s

trademark allegations cast a cloud over Cohesity’s business and that Cohesity' needs immediate

relief from tliis Court. Yet Cohesity chose to wait nearly two months after being sued in Canada

and after claiming to have received a cease-and-desist demand on August 12,2024 (Complaint,

para. 29) before filing this United States case approximately 127 days after commencing this

case on December 17, 2024, undermining any claim of urgency.

        Conversely, CT could argue that it too would be prejudiced in obtaining timely relief in

the Canadian Proceeding to address what it has alleged is its on-going harm in Canada while

having to allocate resources in this court to rebuff Cohesity’s trademark allegations which cast a

cloud over CT’s business.


        Moreover, any cloud over Cohesity’s use of HELIOS exists because of the substantive

trademark dispute, which the Federal Court of Canada is already addressing. Cohesity is actively




                                            Page 14 of 17
     Case 4:24-cv-09104-JST            Document 19         Filed 04/01/25      Page 15 of 17




litigating its rights in the Canadian tbnim; a stay here will simply avoid redundant litigation on

the same issues. If Cohesity truly needed swift resolution, it could have sought expedited

proceedings or injunctive relief here or in Canada per Federal Court of Canada Rule 362(2). It

has not done so. Thus, any prejudice from a reasonable delay is speculative and outweighed by

the significant elficiency and comity interests served by a stay.

       Anotlier possible counterargument is that tliis Court, as a United States foinm, should

give primacy to Cohesity’s choice of forum for its declaratory judgment, especially since United

States trademark rights are at stake. However, Cohesity's declaratory action is by nature

anticipatory - it was filed in reaction to CT’s enforcement of its trademai'k rights. Courts are

cautious about rewarding a race to the courthouse in the form of a declarator^’ suit filed in the

midst of settlement negotiations or after threats of litigation. Here, Cohesity filed in the United

States only after being sued abroad, effectively attempting to seize a tactical advantage. Under

these circumstances giving deference to the first-filed action in Canada is fair and logical.

       Fiirthennore, while United States trademark law is certainly witliin this Court's expertise,

tliat does not mean this Court must decide tlie issue now regardless of the foreign proceedings.


On the contrary, deferring to the Federal Court of Canada’s findings can enhance the accuracy

and completeness of any later decision this Court might make, For instance, evidence developed

in the Canadian Proceeding about the use of HELIOS md consumer perceptions could be used

here, avoiding inconsistent determinations. If the Federal Court of Canada finds facts favorable

to Cohesity, such as tliere is no confusion caused by Cohesity’s HELIOS usage, Cohesity can

invoke tliose findings here; if the Federal Court of Canada rules for CT, that is confirming the

strength and validity of its HELIOS mark and likelihood of confusion, Cohesity might reassess

tlie wisdom of continuing the fight in the United States at all.




                                           Page 15 of 17
      Case 4:24-cv-09104-JST            Document 19         Filed 04/01/25        Page 16 of 17




        in sum, Cohesity’s anticipated arguments against a stay do not overcome the strong

reasons to grant one. Cohesity will have its opportunity to litigate      indeed, it is litigating right

now, ill tlie forum w'here this dispute began. A stay simply ensures tiiat botli parties litigate once.

not twice, and that they do so in the order that respects the chronology of tilings and each

sovereigns’ interests. If anything remains of Cohesity’s claims after the Canadian Proceeding is

disposed of, tins Court will be here to resolve tliein. This moderate, pragmatic approach

safeguards Cohesity’s rights while preventing unnecessary duplication and friction between two

judicial systems.

 V.     CONCLUSION


       For the foregoing reasons, Defendant CT respectfully requests that the Court stay this

proceeding, including all deadlines and any further responsive pleading or motions practice, until

final disposition of die Canadian Proceeding between the pai ties. At diat time tlie parties can

promptly notify the Court and, if appropriate, proceed with or dismiss the remaining claims in

this case. A stay will promote the interests of justice by streamlining the resolution of this

international dispute, conserving judicial resources, and respecting die prior pending proceeding

in Canada. CT therefore asks the Court to enter an order staying this case in its entirety until die


conclusion of the Canadian Proceeding.

                                                                               Respectftilly submitted.



              Date:       March 24, 2025            Sign Name;
                                                    Print Name:         ■ip Warner



                                                                Kip C.S. Warner
                                                                kiutt/dielio.sniusic.io
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                                                                2200 - 1177 West Hastings St


                                            Page 16 of 17
Case 4:24-cv-09104-JST   Document 19       Filed 04/01/25     Page 17 of 17




                                              Vancouver, BC
                                              Canada V6E 2K3


                                             Pro Se Defendant




                           Page 17 of 17
